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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                           SAVANNAH DIVISION

UNITED STATES OF AMERICA                   )
                                           )
                                           )
      v.                                   )   Civil Case No.     CV420-291
                                           )
9545 STONEY RIDGE LANE                     )
ALPHARETTA, GEORGIA 30022                  )

             VERIFIED COMPLAINT FOR FORFEITURE IN REM

      COMES NOW the United States of America, (the “United States” or the

“Government”), by and through Bobby L. Christine, United States Attorney for the

Southern District of Georgia, and Xavier A. Cunningham, Assistant United States

Attorney, and brings this Verified Complaint for Civil Forfeiture In Rem, with the

following allegations:

                            NATURE OF THE ACTION

      1.    In Rem civil forfeiture is permissible under Rule G of the Supplemental

Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions.

      2.    The Defendant Property is subject to civil forfeiture pursuant to 18

U.S.C. § 981(a)(1)(A), because it constitutes real property involved in a transaction or

attempted transaction in violation of section 18 U.S.C. § 1956.

                            THE DEFENDANT IN REM

      3.    The Defendant in this case is real property located at 9545 Stoney Ridge

Lane, Alpharetta, Georgia 30022-7801, the legal description for which is as follows:

       ALL THAT TRACT OR PARCEL OF LAND LYING AND BEING IN
       LAND LOT 17 OF THE 1ST DISTRICT, 1ST SECTION, FULTON

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       COUNTY, GEORGIA, BEING LOT 304, BLOCK A, THE RIDGE AT
       BRUMBELOW SUBDIVISION, UNIT III-A, AS PER PLAT
       RECORDED IN PLAT BOOK 205, PAGES 60-62, FULTON COUNTY,
       GEORGIA RECORDS AND BEING FURTHER IDENTIFIED
       ACCORDING TO THE OFFICIAL TAX MAP OF SAID COUNTY BY
       PIN: 11-0090-0017-042-1,

(hereinafter, the “Defendant Property”).

                         JURISDICTION AND VENUE

      4.    This Court has jurisdiction over an action commenced by the United

States under 28 U.S.C. § 1345, and over an action for forfeiture under 28 U.S.C. §

1355(a). This Court has In Rem jurisdiction over the Defendant Property under 28

U.S.C. § 1355(b).

      5.    Venue is proper pursuant to 28 U.S.C. § 1395 as the Defendant Property

is currently located within the Southern District of Georgia, and some of the acts

described herein haves a nexus to on-going criminal activity that is currently under

Indictment in the Southern District of Georgia.

                           BASIS FOR FORFEITURE

      6.    On October 13, 2020, a federal grand jury sitting in the Southern

District of Georgia returned a Four-Count, Third Superseding Indictment against

Dali Bagrou (hereinafter, the “Defendant in the criminal case” or “Bagrou”), and

several other individuals and entities, charging violations of 18 U.S.C. § 371 (Count

One – Conspiracy); 50 U.S.C. § 4801 et seq., (Count Two – Export Control Reform

Act); 18 U.S.C. § 1349 (Count Three – Wire Fraud Conspiracy); and 18 U.S.C.

§1956(h) (Count Four – Money Laundering Conspiracy).



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              7.            The grand jury's return of the Indictment against the Defendant

establishes probable cause that the charged offenses were committed.

              8.            The Indictment further contained a Forfeiture Allegation that declared

the forfeitability of the Defendant Property as real property involved in, or traceable

to property obtained during the commission of the Title 18 offense alleged in the Third

Superseding Indictment.

                                                               FACTS

              9.            Beginning in or around February 2017, and continuing through the time

of the Third Superseding Indictment, Bagrou, aided and abetted by others, conspired

to willfully export, attempt to export, and attempt to cause the exportation of a Vectra

40G power turbine1 (hereinafter the ”Commodity”) from the United States to Russia,

to be used directly or indirectly for the exploration, or the production of, oil or gas in

Russian deep-waters (greater than 500 feet) or in Arctic offshore locations or shale

formations.

              10.           The Bureau of Industry and Security (“BIS”), within the U.S.

Department of Commerce requires an export license for the export of the Commodity.

              11.           Thus, it is a violation of Title 50, United States Code, Sections 1702 and

1705; and 15 C.F.R. Part 746.5 and 764.2(a)-(k) to export the Commodity without first

having obtained the required licenses or authorizations from BIS.



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     Vectra 40G power turbine is designed and manufactured for integration with gas
generators to enable direct drive of high power gas compressors.
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      12.    At no time did Bagrou or any of the named co-Defendants in the criminal

case apply for, receive or possess a license or authorization from BIS, to export the

Commodity.

      13.    As it was set forth in the Criminal Indictment, as a part of the conspiracy

Bagrou, aided and abetted by others, entered into contracts for the purpose of

procuring the Commodity

      14.    Further, as alleged in the criminal Indictment, the contracts contained

materially false information intended to obscure the true end user, and the end use

of the Commodity.

                             Details of the Conspiracy


      15.    World Mining and Oil Supply (“WMO”) advertised as a sourcing and

supply company that specialized in industrial, mining, and oil and gas products. Its

corporate office was located in Dacula, Georgia.

      16.    Bagrou was the President, Owner and Managing Director of Defendant

WMO, and operated from the WMO offices in Dacula, Georgia.

      17.    GVA International Oil and Gas Services (a/k/a “GVA International

DMCC”) (hereinafter, “GVA”), based in Italy, was a business that offered services in

electrical engineering, mechanical and HVAC engineering, and energy and

communication systems in the oil/gas, petrochemical, manufacturing and energy

industries.

      18.    GVA is a co-defendant in the criminal case, as is Gabriele Villone

(“Villone”), who is GVA’s Commercial Director and Manager.


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      19.   Bruno Caparini (“Caparini”), another co-defendant in the criminal case,

was the Commercial Director of an Italian engineering and construction company

based in Italy.

      20.   KS Engineering (a/k/a “KS-Inzhiniring Co. LTD.” and “KS-Inzhiniring,

LLC,”) (“KS”), also a co-defendant in the criminal case, was an engineering service

company based in St. Petersburg, Russia that specialized in systems for coal, gas, oil,

nuclear and renewable energy power plants.

      21.   Anton Cheremukhin (“Cheremukhin”) was an employee of KS and is a

co-defendant in the criminal case.

      22.   Oleg Vladislavovich Nikitin (“Nikitin”), was the General Director of

KS, and is a co-defendant in the criminal case.

      23.   Company A is a U.S. based company whose identification will be kept

secret throughout this civil ligation as it is in the parallel criminal proceeding.

      24.   Company B was a Russian government-controlled business based in

Moscow and St. Petersburg, Russia that engaged in the extraction, production,

transportation and sale of oil and gas. The identification will be kept secret

throughout this civil ligation as it is in the parallel criminal proceeding.

      25.   On or about September 14, 2017, Bagrou contacted Company A via email

and requested a service manual for the Commodity, stating that the company he

represented wanted to couple it with a General Electric gas generator model LM2500

(the "LiM2500 Gas Generator"). Company A replied that it would only share its




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proprietary information with bona fide end users of the Commodity or their

authorized agents.

      26.   On or about October 18, 2017, Bagrou falsely responded to Company A

via email that his company, WMO, would be the end user of the Commodity and that

it would be used in Atlanta, Georgia.

      27.   On or about October 24, 2017, Company A replied to Bagrou that it knew

the Commodity would not be installed in Atlanta, Georgia, and reiterated that

Company A required full disclosure of end use/end user information to comply with

European Union and United States export law. On the same date, Bagrou forwarded

Company A's email to Villone.

      28.   On or about October 24, 2017, Villone. drafted a series of materially false

responses and other information, such as, "[the Commodity] will be buy (sic),

delivered, 'installed' literally in United States Atlanta facilities, “and "no export

outside US." Villone emailed the response to Bagrou and directed him to send it to

Company A.

      29.   On or around April 2017, Caparini met with representatives of Company

A and attempted to procure the Commodity. He was unsuccessful.

      30.   On or about December 1, 2017, Caparini contacted Company A and

inquired again about purchasing the Commodity.

      31.   On or about January 19, 2018, Company A asked Caparini to provide

specific information about the end use/end user of the Commodity.             Caparini

forwarded the request to Villone.



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      32.   On or about January 19, 2018, Villone instructed Caparini to write back

to Company A that, “we are the end User in name of our owned Group Company:

GVA International DMCC, based in Dubai UAE as we are the owner of all equipment.

Our intention is to produce and sell Energy not the equipment.” As Villone and

Caparini then knew, that information was false. Company A declined to make the

sale to Caparini or GVA.

      33.   On or about February 27, 2018, KS, by and through Cheremukhin and

Nikitin, sent a draft contract proposal to GVA. In the contract, GVA agreed to obtain

and sell the Commodity to KS. The agreement falsely stated that the Commodity

would be used at the “Mordovskiy sugar factory, LLC,” in Russia, which the parties

to the contract and their representatives knew to be false.

      34.   On or about March 5, 2018, KS, by and through Cheremukhin and

Nikitin, submitted a technical proposal to Company B, in which KS proposed to

provide the Commodity to Company B for use with the LM2500 Gas Generator as

part of a Turbogenerator on the Prirazlomnaya Marine Ice-Resistant Stationary

Platform.

      35.   On or about June 22, 2018, with the advice and direction of Villone,

Bagrou contacted Company A and again inquired about purchasing the Commodity.

Bagrou told Company A it was for a power plant that Bagrou was purportedly

planning to build near Atlanta, Georgia. In fact, as Villone and Bagrou then knew,

Bagrou had no plans to build a power plant in Georgia.




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      36.   On or about July 19, 2018, Villone sent a letter on behalf of GVA to KS,

confirming GVA’s receipt of KS’s advance payment on May 8, 2018, and predicting

delivery of the Commodity and other components to KS on November 1, 2018.

      37.   On or about July 20, 2018, Cheremukhin forwarded Villone’s letter to

Company B’s Deputy Head of Office, Head of the MTR Supply Department, Office of

Material and Technical Provision.

      38. On or about July 23, 2018, Bagrou, with the assistance and direction of

Villone, provided Company A with an affidavit and description of a proposed plan to

use the Commodity to build a power unit generator in Savannah, Georgia, a plan

which Villone and Bagrou knew to be fictitious and false.

      39. On or about September 18, 2018, Villone emailed Cheremukhin the

fictitious and false affidavit, and business plan submitted to Company A as evidence

that Bagrou and Villone could successfully procure the Commodity from Company A.

      40.   On or about September 30, 2018, Villone emailed Bagrou a series of

instructions regarding additional false and fictitious information Bagrou was to

provide to Company A.




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      41.    On or about October 10, 2018, a Undercover Agent (“UCA”) based in

Savannah, Georgia informed Bagrou that Company A was concerned the Commodity

would be exported from the United States without a license to be installed on foreign

military naval vessels. Bagrou assured the UCA that the Commodity would remain

in the United States after its purchase from Company A. Additionally, Bagrou

assured the UCA that he was not ordering the Commodity on behalf of another person

or company.

      42.    On or about October 15, 2018, Villone emailed Bagrou a contract between

GVA and Bagrou’s company, which contract purported to establish a joint venture to

build a “portable temporary generation power project.” As Villone and Bagrou then

knew, no such project was actually contemplated and the phony contract was created

for the purpose of deceiving Company A.

      43.    On or about November 1, 2018, Villone emailed Bagrou another series of

instructions regarding additional false and fictitious information which Bagrou was

to provide to Company A.

      44.    On November 2, 2018, Company B sent a letter via email to KS and

Nikitin, reminding KS and Nikitin of the Supply Agreement and stating, “this is to

advise you that in the event of another failure to supply the Product on time,

[Company B] will have significant financial losses.”




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          45.   Between, on or about November 23, 2018, and on or about December 2,

2018, Bagrou met with Cheremukhin in Dubai, United Arab Emirates, to discuss

ordering and transporting the Commodity from the United States to another country

without a license from BIS.

          46.   On or about November 24, 2018, Villone sent a payment, which

originated outside the U.S., from GVA to Bagrou’s company in the amount of

$980,000.00 USD. Villone then emailed Bagrou, “first payment as per our contract

15 Oct. 2018 [The Commodity] 980,000 has been sent.”

          47.   On or about November 24, 2018, Villone emailed Cheremukhin proof of

the $980,000.00 payment to Bagrou’s company, as well as a projected delivery date

for the Commodity by Bagrou’s company. Villone also emailed Cheremukhin the

phony “portable Temporary Generation Power project” contract between GVA and

Bagrou’s company.

          48.   On or about November 28, 2018, Cheremukhin emailed a representative

of Company B a summary of a meeting between KS, and Company B from the

previous day. The email documented Company B’s stated concerns about the delays

in delivery and irregularities in financing. In response, KS “committed to deliver the

equipment regardless of the circumstances that impede the implementation delivery

(sic).”

          49.   On or about November 28, 2018, with the advice and direction of Villone,

Bagrou sent proof of $980,000.00 USD in available funds to Company A, and asked

for a formal proposal to finalize the sale of the Commodity.



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      50.   On or about December 11, 2018, after Bagrou sent several more inquiries

to Company A, Villone forwarded the inquiries to Cheremukhin and cautioned him

to wait for Company A’s response, stating, “Daily we are pushing them.”

      51.   On or about December 13, 2018, Villone sent multiple payments, which

originated outside the U.S., from GVA to Bagrou’s company, totaling $1,000,000.00

USD, purportedly for “the project energy [the Commodity].”

      52.   On or about December 14, 2018, Villone emailed Cheremukhin to inform

him about the $1,000,000.00 USD transfer to Bagrou’s company.

      53.   On or about December 21, 2018, in response to a request from Company

A for more information about the purported energy project in which the Commodity

would be used, Villone emailed Cheremukhin and asked Cheremukhin to help him

craft “A PERFECT ANSWER” to Company A’s questions about “ ‘our’ project to

produce energy.”

      54.   On or about December 26, 2018, Villone requested the assistance of an

engineer to assure Company A about the feasibility of the purported energy project,

falsely telling the engineer that Bagrou’s company was the end user of the Commodity

and providing the engineer with the false and fictitious business plan.




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      55.   On or about December 29, 2018, Villone emailed Bagrou a response to

Company A’s questions about the purported energy project, which Villone and Bagrou

both knew contained materially false and misleading information. Villone instructed

Bagrou to “remember to save my file in your computer open it and save again then

send what you have save (sic)! don’t send this file attached directly (my file (sic) are

with my computer id).”

      56. On or about February 8, 2019, Bagrou received and forwarded a budgetary

proposal from Company A for the purchase of the Commodity at $7,500,000.00 USD,

which Bagrou forwarded to Villone. Villone then forwarded the proposal (with the

Company A price redacted) to Cheremukhin. Villone informed Cheremukhin that the

price for the Commodity was higher than expected because it was no longer in

production and because it was under a “strict end user control.”          On or about

February 9, 2019, Villone, on behalf of Defendant GVA, sent a Request for Contract

Amendment to KS, Cheremukhin and Nikitin based upon the price and delivery time

for the Commodity quoted by Company A. In the request, Villone heralded his

accomplishment of the “almost impossible mission” of getting Company A to sell the

Commodity. He reminded KS personnel that he was able to do so by convincing

Company A that the true end user of the Commodity was located in the U.S. Villone

went on to state that once GVA had the Commodity, “then from USA we can move

[the Commodity] freely and easy between our Company Group Facilities in UAE. . .

for delivery to final destination.” Pursuant to the amended contract, KS would pay

GVA 15.408.587 Euro (approximately $17,300,000.00 USD) for the Commodity.



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      57.   On or about February 23, 2019, after additional questions about the

purported energy project from Company A, and after consultation with Villone,

Bagrou spoke with a UCA located in Savannah, Georgia, and told the UCA that he

would like to purchase the Commodity from a company other than Company A.

      58.   On or about March 8, 2019, following further conversation with the UCA

and after consultation with Villone, Bagrou sent Company A an email confirming he

was no longer interested in purchasing the Commodity through Company A. On the

same date, Bagrou reached an agreement with the UCA to purchase the Commodity

through the UCA’s company.

      59.   On or about March 11, 2019, Bagrou forwarded the email terminating

the Company A relationship to Villone, who forwarded the message to Cheremukhin,

adding, “All is good on process as agreed and [the Commodity] is under fabrication.

We expect to have contract news on next Friday when [UCA] will be back in Houston.”

      60.   On or about April 6, 2019, Villone drafted an email to the UCA which he

instructed Bagrou to send, in which Villone and Bagrou agreed to purchase the

Commodity from the UCA’s company for $6,500,000.00 USD.

      61.   On or about May 8, 2019, KS, by and through Cheremukhin, entered into

a modification of its contract with GVA, by and through Villone, wherein the parties

adjusted the previously negotiated payment amounts and delivery date(s) for the

Commodity.




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        62.   On or about May 8, 2019, Villone forwarded Cheremukhin photographs

of the Commodity and stated, “tomorrow I will travel to USA . . . to meet [the UCA]

personally in Georgia. . . . I decided to go personally due to the sensitive step of the

deal.” Villone also forwarded pictures of the Commodity to Caparini.

        63.   On or about May 8, 2019, Nikitin texted Villone and stated, “hello

Gabrielle I spent some hours with Number 1 today, your photos were in time thank

you.”

        64.   On or about May 10, 2019, Villone and Bagrou met with the UCA in

Augusta, GA, to discuss the sale of the Commodity to Bagrou’s company. The parties

agreed that Bagrou and Villone would provide a $2,750,000.00 USD down payment

to the UCA’s company toward purchase of The Commodity.

        65. On or about May 13, 2019, Villone, on behalf of GVA, sent Cheremukhin

and KS a letter summarizing his meeting with the UCA. In his letter, Villone wrote,

“My personal impression of [the UCA] after 2 hours of discussion is that he is a REAL

manager involved in [Company A] business and he considerate (sic) us a very

interesting USA ‘customer’ for our energy production program. He believe (sic) that.

He AWARE US (sic) that ROSNEF Company linked from Russia contacted AGAIN

ONE MONTH AGO ASKING FOR [THE COMMODITY] from Russia!!!!! Of course

[Company A] refuse (sic) but the attention is still very high. Therefore please ask

client TO STOP ASKING FOR [THE COMMODITY] We have [the Commodity] now

with this way.”




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        66. On or about May 27, 2019, Villone emailed Cheremukhin the pro-forma

    invoice from the UCA’s company and Bagrou’s company for the Commodity. Villone

    advised Cheremukhin they needed to send payment to the UCA’s company.

         67.   On or about June 26, 2019, Bagrou, with the advice and direction of

Villone, wired a total of $2,750,000.00 USD; which funds had been previously

transferred from a bank account in Poland into a bank account controlled by Bagrou,

to an account belonging to the UCA’s company inside the United States.

         68.   Two day prior, on June 24, 2019, a Limited Warrant Deed was executed

by husband and wife, Dali Bagrou and Adele Felicite Bagrou. The Limited Warranty

Deed was for the purchase of the Defendant Property.

         69.   On June 25, 2019, Bagrou wired $494,000.00 to Ohlson & Medlock LLC,

a real estate law firm with locations in Peachtree Corners, Georgia and Atlanta,

Georgia. The transaction appears to be linked to the purchase of the Defendant

Property as the Defendant Property is listed in the description section of the wire

instructions.




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                                CLAIM FOR RELIEF

      WHEREFORE, the United States of America prays for an Order of Forfeiture

permitting the United States to secure its interest in the Defendant Property.


                                                 Respectfully submitted,

                                                 BOBBY L. CHRISTINE
                                                 UNITED STATES ATTORNEY



                                                 /s/ Xavier A. Cunningham
                                                 ___________________________
                                                 Xavier A. Cunningham
                                                 Assistant United States Attorney
                                                 New York Bar Number 5269477
P.O. Box 8970
Savannah, GA 31412
(912) 652-4422




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          VERIFICATION OF COMPLAINT FOR FORFEITURE IN REM

      I, Special Agent John Conley with Bureau of Industry and Security, have read

the foregoing Complaint for Forfeiture in Rem in this action and state that its

contents are true and correct to the best of my knowledge and belief.

      Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the

foregoing is true and correct.



      This        day of November, 2020.



                                   JOHN CONLEY Digitally signed by JOHN CONLEY
                                               Date: 2020.11.17 09:22:38 -05'00'
                                   ____________________________________________
                                   JOHN CONLEY
                                   SPECIAL AGENT
                                   BUREAU OF INDUSTRY AND SECURITY
                                   OFFICE OF EXPORT ENFORCEMENT
                                   ATLANTA RESIDENT OFFICE/SAVANNAH




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